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                                   13
                                               Attorneys for Defendant
                                   14          CIGNA HEALTH AND LIFE INSURANCE
                                               COMPANY
                                   15
                                                                          UNITED STATES DISTRICT COURT
                                   16                                   NORTHERN DISTRICT OF CALIFORNIA

                                   17          RJ, as the representative of her beneficiary son
                                               SJ; LW as the representative of her
                                   18          beneficiary spouse MW; and, DS, an                 Case No. 5:20-cv-02255-EJD
                                               individual, on behalf of themselves and all        JOINT STIPULATION AND [PROPOSED]
                                   19          others similarly situated,                         ORDER TO EXTEND DEADLINES
                                   20
                                                                      Plaintiffs,
                                   21                 vs.

                                   22          CIGNA HEALTH AND LIFE INSURANCE
                                               COMPANY, and MULTIPLAN, INC.,
                                   23

                                   24                                 Defendants.
                                   25

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                                   28          JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND DEADLINES - CASE NO: 5:20-CV-02255
                                           1
                                                          Pursuant to Local Rules 6-2 and 7-12, Plaintiffs RJ, LW, and DS, and Defendants Cigna
                                           2
                                               Health and Life Insurance Company (“Cigna”) and MultiPlan, Inc. (collectively, the “Parties”)
                                           3
                                               stipulate and agree to the extend the schedule in this case as set forth below, subject to this Court’s
                                           4
                                               approval. In further support, the Parties state as follows:
                                           5
                                                          Whereas, the Case Management Order (Dkt. No. 78) states that the Parties will complete
                                           6
                                               document production by April 1, 2022, fact discovery by June 24, 2022, and that any motion for
                                           7
                                               class certification with supporting expert reports will be fully briefed by August 22, 2022; 1
                                           8
                                                           Whereas, since the Case Management Order was entered, the Parties have been diligently
                                           9
                                               working on discovery and have made substantial progress: Cigna has produced named plaintiffs’
                                   10
                                               administrative files, MultiPlan has produced relevant contracts with Cigna as well as Viant OPR
                                   11
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                                               whitepapers, and Plaintiffs have also produced relevant documents;
                                   12
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                                                          Whereas, Cigna and MultiPlan have also produced hundreds of thousands of lines of claims
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                                   13
                                               data regarding intensive outpatient behavioral health facility claims, and the Parties are in the
                                   14
                                               process of selecting claims to sample pursuant to their claims sampling protocol (Dkt. No. 87);
                                   15
                                                          Whereas, the Parties have served and responded to document requests, Cigna and Plaintiffs
                                   16
                                               have agreed upon search terms for Cigna’s TAR review, and MultiPlan has provided Plaintiffs
                                   17
                                               with proposed search terms, all of which activities have required, and will continue to require,
                                   18
                                               substantial coordination and consistent meet and confers between the Parties to resolve areas of
                                   19
                                               disagreement;
                                   20
                                                          Whereas, Cigna and MultiPlan have spent significant time identifying custodians who have
                                   21
                                               responsive information to Plaintiffs’ document requests, a process which required interviewing
                                   22
                                               numerous individuals from their respective companies;
                                   23
                                                          Whereas, Defendants have also made substantial progress in collecting relevant sources of
                                   24
                                               information for retrieval and production to Plaintiffs, and Cigna has made several disclosures
                                   25

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                                   27          1
                                                   The schedule also sets forth various other interim deadlines. Dkt. No. 78 at 16-17.

                                   28          JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND DEADLINES - CASE NO: 5:20-CV-02255
                                           1
                                               pursuant to the Parties’ Proposed Stipulated Order re: Use of Technology Assisted Review, which
                                           2
                                               is pending with the Court;
                                           3
                                                       Whereas, although substantial progress has been made on discovery, the Parties believe
                                           4
                                               good cause exists for an extension, and request additional time to complete discovery, and to brief
                                           5
                                               issues related to class certification;
                                           6
                                                       Whereas, Plaintiffs served 122 document requests on Cigna, and 155 document requests
                                           7
                                               on MultiPlan, and the Parties spent several months responding to and then meeting and conferring
                                           8
                                               over these requests;
                                           9
                                                       Whereas, given the documents collected and reviewed thus far, Defendants anticipate that
                                   10
                                               their document productions in this case will be extensive, and, as Cigna has already disclosed to
                                   11
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                                               Plaintiffs, its TAR review universe consists of approximately 822,000 documents;
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                                                       Whereas, the negotiation of the parameters for electronic discovery has also taken a
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                                   13
                                               significant amount of time, and although the Parties have reached agreement on a variety of issues,
                                   14
                                               as outlined above, Plaintiffs and MultiPlan are still addressing search terms, and they expect that
                                   15
                                               additional time will be required for MultiPlan’s document production;
                                   16
                                                       Whereas, the Parties also anticipate needing additional time to collect and review claims
                                   17
                                               samples pursuant to the parties’ Claims Sampling Protocol, given that negotiation of the
                                   18
                                               parameters for the claims data reports used to identify these samples took longer than anticipated
                                   19
                                               to negotiate and process, including because this data came from multiple claims systems;
                                   20
                                                       Whereas, given this history, the Parties believe an additional extension of the remaining
                                   21
                                               deadlines is necessary and appropriate;
                                   22
                                                       Whereas, the Parties believe that an extension of six (6) months would ensure that there is
                                   23
                                               sufficient time to complete discovery and brief class certification and would be in the best interests
                                   24
                                               of all Parties;
                                   25
                                                       Whereas, this Court has not previously extended any of the deadlines that are the subject
                                   26
                                               of this stipulation, though the Court has granted some other proposed joint stipulated extensions
                                   27

                                   28          JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND DEADLINES - CASE NO: 5:20-CV-02255
                                           1
                                               of deadlines, including the deadlines in connection with the briefing schedules for the motions to
                                           2
                                               dismiss, and the deadline to file a claims sampling protocol (see Dkt. Nos. 36, 62, 83);
                                           3
                                                      NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the Parties, through
                                           4
                                               their respective counsel and subject to the Court’s approval, that the Parties agree to extend the
                                           5
                                               case schedule as follows:
                                           6    New Deadline                        Event
                                                September 30, 2022                  Completion of party document production, including
                                           7                                        production of named plaintiffs’ claims files, custodian
                                                                                    discovery, and claims samples
                                           8
                                                October 14, 2022                    All requests for admission must be served
                                           9    October 28, 2022                    Disclosure of party privilege logs
                                                October 28, 2022                    Service of 30(b)(6) deposition notices for class
                                   10                                               certification topics

                                   11           November 22, 2022                   Completion of 30(b)(6) depositions for class
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                                                                                    certification topics
                                   12           December 2, 2022                    Motion for class certification with any supporting
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                                                                                    expert reports
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                                   13
                                                December 22, 2022                   Close of all fact discovery
                                   14           January 20, 2023                    Opposition to class certification with any supporting
                                                                                    expert reports
                                   15           February 22, 2023                   Reply in support of motion for class certification
                                                TBD                                 Complete merits expert reports
                                   16           TBD                                 Motions for summary judgment
                                                TBD                                 Pretrial conference and trial to be scheduled after ruling
                                   17                                               on class certification motion
                                   18

                                   19          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

                                   20

                                   21           Dated: February 2, 2022              ARNALL GOLDEN GREGORY LLP

                                   22
                                                                                     By: Matt M. Lavin
                                   23                                                MATTHEW M. LAVIN
                                                                                     AARON R. MODIANO
                                   24
                                                                                     DL LAW GROUP
                                   25
                                                                                     DAVID M. LILIENSTEIN
                                   26                                                KATIE J. SPIELMAN

                                   27                                                Attorneys for Plaintiffs

                                   28          JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND DEADLINES - CASE NO: 5:20-CV-02255
                                           1

                                           2
                                                Dated: February 2, 2022         MCDERMOTT WILL & EMERY LLP
                                           3

                                           4
                                                                                By: Dmitriy Tishyevich
                                           5                                    WILLIAM P. DONOVAN, JR.
                                                                                JOSHUA B. SIMON
                                           6                                    WARREN HASKEL
                                                                                DMITRIY TISHYEVICH
                                           7
                                                                                Attorneys for Defendant
                                           8                                    CIGNA HEALTH AND LIFE INSURANCE COMPANY
                                           9

                                   10           Dated: February 2, 2022         PHELPS DUNBAR LLP
                                   11
MCDERMOTT WILL & EMERY LLP




                                                                                By: Errol J. King, Jr.
                                   12                                           ERROL J. KING, JR.
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                                                                                CARYS A. ARVIDSON
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                                   13                                           CRAIG L. CAESAR
                                   14                                           Attorneys for Defendant
                                                                                MULTIPLAN, INC.
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                                   28          JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND DEADLINES - CASE NO: 5:20-CV-02255
                                           1
                                                                                  [PROPOSED] ORDER
                                           2
                                                      Having considered the Parties Joint Stipulation and [Proposed] Order to Extend
                                           3
                                               Deadlines, the Court HEREBY ORDERS as follows:
                                           4    Revised Date                  Event
                                                September 30, 2022            Completion of party document production, including
                                           5                                  production of named plaintiffs’ claims files, custodian
                                                                              discovery, and claims samples
                                           6
                                                October 14, 2022              All requests for admission must be served
                                           7    October 28, 2022              Disclosure of party privilege logs
                                                October 28, 2022              Service of 30(b)(6) deposition notices for class
                                           8                                  certification topics

                                           9    November 22, 2022                 Completion of 30(b)(6) depositions for class
                                                                                  certification topics
                                   10           December 2, 2022                  Motion for class certification with any supporting
                                                                                  expert reports
                                   11
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                                                December 22, 2022                 Close of all fact discovery
                                   12           January 20, 2023                  Opposition to class certification with any supporting
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                                                                                  expert reports
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                                   13           February 22, 2023                 Reply in support of motion for class certification
                                                TBD                               Complete merits expert reports
                                   14           TBD                               Motions for summary judgment
                                                TBD                               Pretrial conference and trial to be scheduled after ruling
                                   15                                             on class certification motion
                                   16

                                   17          PURSUANT TO STIPULATION, IT IS SO ORDERED.

                                   18

                                   19          DATED: ____________________
                                                      February 3, 2022             _______________________________

                                   20                                              The Honorable Edward J. Davila
                                                                                   United States District Judge
                                   21

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                                   28          JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND DEADLINES - CASE NO: 5:20-CV-02255
                                           1                                          ATTESTATION

                                           2          Pursuant to Civil Local Rule 5-1, I, Dmitriy Tishyevich, attest that all signatories listed,
                                           3   and on whose behalf the filing is submitted, concur in the stipulation’s content and have
                                           4   authorized the stipulation.
                                           5

                                           6

                                           7   Dated: February 2, 2022                 By:     Dmitriy Tishyevich
                                                                                                DMITRIY TISHYEVICH
                                           8

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                                   28          JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND DEADLINES - CASE NO: 5:20-CV-02255
